              Case 23-10831-MFW               Doc 1004       Filed 02/22/24        Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                          Case No. 23-10831 (MFW)

                       Debtors.                           (Jointly Administered)

                                                          Re: Docket No. 943

                                CERTIFICATE OF NO OBJECTION

         The undersigned hereby certifies as follows:

         On February 1, 2024, Brown Rudnick LLP (“Brown Rudnick”), counsel to the Official

Committee of Equity Security Holders (the “Equity Committee”), appointed in the above-

referenced bankruptcy cases, filed the Fourth Monthly Fee Application of Brown Rudnick LLP, as

Counsel for the Official Committee of Equity Security Holders of Lordstown Motors Corp., et al.,

for Allowance of Interim Compensation and for Reimbursement of Disbursements Incurred for the

Period from December 1, 2023 through December 31, 2023 (the “Application”) [Docket No. 943].

The deadline to object to the Application was February 21, 2024 at 4:00 p.m. (ET).

         The undersigned further certifies that after reviewing the Court’s docket in this case, no

formal answer, objection, or other responsive pleading to the Application appears thereon.

         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket

No. 181], no further order is required, and Brown Rudnick is entitled to receive payment of 80%

of its fees ($291,941.60) and 100% of its expenses ($5,785.44).




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    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
           Case 23-10831-MFW   Doc 1004    Filed 02/22/24   Page 2 of 2




Dated: February 22, 2024             MORRIS JAMES LLP

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